     Case 1:22-mc-00100-JEB Document 22                     Filed 06/18/24 Page 1 of 1
 USCA Case #23-5071   Document #2060560                        Filed: 06/18/2024 Page 1 of 1

                       United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________

No. 23-5071                                                   September Term, 2023
                                                                        1:22-mc-00104-BAH
                                                                        1:22-mc-00100-BAH
                                                      Filed On: June 18, 2024 [2060560]
In re: Application of the New York Times
Company and Charlie Savage for Access to
Certain Dockets, Orders, Legal Briefing,
and Argument Transcripts Ancillary to
January 6 Grand Jury Proceedings and
Application of Politico and Kyle Cheney to
Unseal All Documents Related to the
January 6 Grand Jury Investigation,

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New York Times Company and Charlie
Savage,

                   Appellees

POLITICO, LLC and Kyle Cheney, Senior
Legal Affairs Reporter,

                   Appellants

         v.

United States of America,

                   Appellee

                                          MANDATE

      In accordance with the judgment of April 23, 2024, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                     BY:    /s/
                                                            Daniel J. Reidy
                                                            Deputy Clerk

Link to the judgment filed April 23, 2024
